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           EXHIBIT 33
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


           PLAINTIFFS’ SEVENTH AMENDED NOTICE OF
       DEPOSITION OF OFFICE OF THE SECRETARY OF STATE

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

      PLEASE TAKE NOTICE that Plaintiffs will take the deposition by oral

examination of the Office of the Secretary of State as permitted by Rule 30 of the

Federal Rules of Civil Procedure and applicable court orders in the above-captioned

matter and as set forth in Schedule A.         This deposition will take place on

Wednesday, October 12, 2022, beginning at 9:00 a.m. Eastern Time, and continue

from day to day until completed, with the Rule 30(b)(6) representative, their counsel,

and certain counsel in person at the office of Krevolin & Horst, LLC, 1201 West

Peachtree Street NW, Suite 3250, Atlanta, Georgia 30309 or other location mutually

agreeable to the parties, and remotely by video conference, such that other attendees

and counsel may participate from a location of their choosing. The deposition shall

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be taken by oral examination with written and/or sound and visual record made

thereof before a court reporter or other officer authorized by law to administer oaths.

      Respectfully submitted this 10th day of October, 2022.

  /s/ David D. Cross                           /s/ Halsey G. Knapp, Jr.
 David D. Cross (pro hac vice)                Halsey G. Knapp, Jr.
 Mary G. Kaiser (pro hac vice)                GA Bar No. 425320
 Veronica Ascarrunz (pro hac vice)            Adam M. Sparks
 MORRISON & FOERSTER LLP                      GA Bar No. 341578
 2100 L Street, NW, Suite 900                 KREVOLIN & HORST, LLC
 Washington, DC 20037                         1201 West Peachtree Street, NW
 (202) 887-1500                               Suite 3250
                                              Atlanta, GA 30309
                                              (404) 888-9700
     Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg

 /s/ Bruce P. Brown                           /s/ Robert A. McGuire, III
 Bruce P. Brown                               Robert A. McGuire, III
 Georgia Bar No. 064460                       Admitted Pro Hac Vice
 BRUCE P. BROWN LAW LLC                         (ECF No. 125)
 1123 Zonolite Rd. NE                         ROBERT MCGUIRE LAW FIRM
 Suite 6                                      113 Cherry St. #86685
 Atlanta, Georgia 30306                       Seattle, Washington 98104-2205
 (404) 881-0700                               (253) 267-8530
/s/ Russell T. Abney
Russell T. Abney
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San Antonio, TX 78257
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               Counsel for Plaintiff Coalition for Good Governance



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/s/ Cary Ichter
Cary Ichter
Georgia Bar No. 382515
ICHTER DAVIS LLC
3340 Peachtree Road NE
Suite 1530
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(404) 869-7600
           Counsel for Plaintiffs William Digges III, Laura Digges,
                       Ricardo Davis & Megan Missett




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                                  SCHEDULE A

                                  DEFINITIONS

      The following words, terms, or phrases shall, for purposes of the Topics

below, have the meanings specified, unless otherwise expressly stated in each

request:

      “All” and “each” shall be construed as all and each.

      “And” as well as “or” are to be construed either disjunctively or

conjunctively as necessary to bring within the scope of the Topics all information

that might otherwise be construed to be outside their scope.

      “Any” means each and every.

      “Communication” shall mean any transmission of information by any

means, including without limitation: (a) any written letter, memorandum, or other

Document of any kind by mail, courier, other delivery services, telecopy,

facsimile, telegraph, electronic mail, voicemail, or any other means; (b) any

telephone call, whether or not such call was by chance or prearranged, formal or

informal; and (c) any conversation or meeting between two or more Persons,

whether or not such contact was by chance or prearranged, formal or informal.

      “Concerning,” “related to” or “relating to,” and “regarding” shall mean

analyzing, alluding to, concerning, considering, commenting on, consulting,


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comprising, containing, contradicting, describing, dealing with, discussing,

establishing, evidencing, identifying, involving, noting, recording, reporting on,

related to, relating to, reflecting, referring to, regarding, stating, showing, studying,

mentioning, memorializing, or pertaining to, in whole or in part.

      “Document” and “documents” shall be synonymous in meaning and equal in

scope to the usage of that term in Rule 34(a), and includes “tangible things” (as

that term is used in Rule 34(a)(1)(b)), as well as anything that falls within the

definition or meaning of “electronically stored information” (as that term is used in

Rule 34(a)(1)(A)) or of “writings” or “recordings” in Federal Rule of Evidence

1001. A draft or non-identical copy of a document shall be considered a separate

document within the meaning of the term “document,” as used in the Topics.

      “Dominion” means Dominion Voting Systems, Inc., its predecessors,

divisions, subsidiaries, affiliates, partnership and joint ventures, and all directors,

officers, employees, contractors, representatives, and agents thereof, and any other

person acting on its behalf or under its direction or control with respect to subject

matter of these Topics.

      “Including” means including without limitation.

      “Person” means and includes a natural person (i.e., an individual), a group of

natural persons acting as individuals, a group of individuals acting in a collegial or


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concerted capacity (e.g., as a committee, a board of directors or advisors, etc.), an

association, firm, corporation, joint venture, partnership, company, governmental

unit or agency, and any other business, enterprise, or entity, unless otherwise

limited or specified in the Topics.

      “You” or “your” mean and include Secretary of State Brad Raffensperger,

any of his predecessors, the divisions, departments, partnerships, and joint ventures

of or subject to the control of the Office of the Secretary of State, all directors,

officers, employees, contractors, consultants, representative, and agents thereof,

and any other person acting on its behalf or under its direction or control with

respect to subject matter of these Topics, including to the extent applicable the

Georgia Technology Authority.

                                  INSTRUCTIONS

      Pursuant to Federal Rule of Civil Procedure 30(b)(6), the Office of the

Secretary of State shall designate one or more of its officers, directors, managing

agents, employees, or other persons to testify on its behalf about the matters set

forth in the Topics set forth below. The Person(s) so designated shall be required

to testify about each of those matters known or reasonably available to the Office

of the Secretary of State. At least five days in advance of the date of deposition,

the Office of the Secretary of State is directed to provide to counsel for Plaintiffs a


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written designation of the name(s) and position(s) of the Person(s) designated to

testify on each of the following topics.

                               AMENDED TOPICS

      “Current Election System” is the Dominion system currently used in

Georgia, as clarified in Curling Plaintiffs’ June 30, 2021 letter regarding the 30b6

topics.

   1. Any alleged event(s) known to the Secretary of State’s Office and alleged to

      have occurred since January 1, 2020, in which one or more individuals not

      authorized by Georgia state law obtained access to one or more components

      of Georgia's Current Election System in Coffee County or elsewhere in

      Georgia. For purposes of this topic, “component of Georgia’s Current

      Election System” shall mean the Image Cast X Prime BMD, ImageCast

      Precinct (ICP) and ImageCast Central (ICC) Scanning Devices, the

      Democracy Suite Election Management System, and related software and

      firmware utilized by the foregoing component parts including printers,

      servers, and computers utilized for tabulating election results. See [Doc. 628

      at ¶ 67], [Doc. 627 ¶ 71]. The term “component of Georgia’s Current

      Election System” shall also include hardware and removable media.




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      For the avoidance of doubt : (i) nothing herein alters the Secretary’s Office’s

obligations under Rule 30b6; and (ii) this topic includes, inter alia, information

regarding (a) the replacement of the Coffee County EMS server and ICC

(including the circumstances related to the alleged password change and any

efforts by the Secretary’s Office or others to access that equipment or the data on it

when or after the Secretary’s Office took possession of it); (b) the reported access

to the Coffee County voting equipment referenced in the telephone call with Mr.

Hall and Ms. Marks; (c) access to voting equipment software in Fulton County as

reported by Ben Cotton in his public declaration (cited in prior filings by

Plaintiffs); (d) any alleged effort known to the Secretary’s Office by unauthorized

individuals to obtain access to one or more components of Georgia’s Current

Election System in Coffee County or elsewhere in Georgia even if the Secretary’s

Office contends, believes, or claims to have evidence that any such effort failed;

and (e) the apparent Coffee County November 2020 Cast Vote Records in json

format available on the internet dated 1/17/21 per Bruce Brown’s July 27, 2022

email (including their authenticity and circumstances of their disclosure).




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               IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                         CERTIFICATE OF SERVICE

      I certify that on October 10, 2022, a copy of the foregoing was served on all

counsel for parties by electronic delivery of a PDF version.

                                             /s/ David D. Cross
                                             David D. Cross
